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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
STEVES AND SONS, INC.,
Plaintiff,
Vv. Civil Action No. 3:20-cv-98
PUBLIC VERSION

JELD-WEN, INC.,

Defendant.

MEMORANDUM OPINION

This matter is before the Court on JELD-WEN, INC.’S MOTION FOR
RULE 65(c) BOND REGARDING APRIL 10, 2020 PRELIMINARY INJUNCTION (ECF
No. 132) (the “Bond Motion”). Having reviewed the Bond Motion, the
parties’ statements of position, response and = supplemental
memoranda, and accompanying exhibits (ECF Nos. 130, 133, 156, 157,
171, 172), the DECLARATION OF DANIEL CASTILLO (the “Castillo
Declaration”) and accompanying exhibits (ECF No. 134), and having
considered the arguments of counsel for Steves and Sons, Inc.
(“Steves”) and JELD-WEN, Inc. (“JELD-WEN”), the Court issued an ORDER
(ECF No. 174) on April 20, 2020, which required Steves to post bond

of $1 million (USD). This MEMORANDUM OPINION explains that

decision.
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BACKGROUND

The history of this action is set out in the MEMORANDUM OPINION
issued on April 10, 2020 (ECF No. 121; ECF No. 122). On February
14, 2020, Steves filed its COMPLAINT FOR INJUNCTIVE AND DECLARATORY
RELIEF, DAMAGES, AND SPECIFIC PERFORMANCE (ECF No. 1; ECF No. 6)
(the “Complaint”) against JELD-WEN.! The Complaint in each of its
counts implicates, in whole or in part, or arises out of, a long-
term requirements contract in which JELD-WEN, a manufacturer of
molded interior doorskins and molded interior doors, agreed to supply
Steves, a manufacturer of molded interior doors, with eighty percent
(80%) of Steves’ requirements for doorskins (the “Supply
Agreement”). There are four counts in the Complaint.

Count One alleges a violation of Section 7? of the Clayton Act,
15 U.S.C. § 18. More specifically, Steves alleges in Count One that
JELD-WEN is using the illegal market power it gained from its illegal
acquisition of CraftMaster Inc. (“CMI”) by refusing to supply Steves
with doorskins “except on anticompetitive terms and conditions.”
(ECF No. 6 T 85.) In Count Two, Steves alleges that JELD-WEN has
intentionally and improperly interfered with Steves’ existing
contracts and business relationships by using an artificially-

created need for allocation of sales to its doorskin customers (which

 

 

1 This action involves the contract and some of the conduct that
was at issue in Steves and Sons, Inc. v. JELD-WEN, Inc., 3:16-cv-
545 (hereinafter “Steves 1”). The lengthy and complex history of

that litigation is set out in full in previous opinions in Steves I.
(ECF No. 976; ECF No. 1424; ECF No. 1581; ECF No. 1784; ECF No.
1813.)
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limits the number of doors Steves and JELD-WEN’s other doorskin
customers can make) to take business that Steves had with existing
door customers and that it reasonably expected to have with potential
door customers. (Id. FW 88-97.) In Count Three, Steves alleges
that JELD-WEN has breached, and is continuing to breach, the Supply
Agreement by: (1) failing and refusing to deliver doorskins Steves
ordered before JELD-WEN issued the notice of allocation; (2) issuing
an “unjustified notice of allocation”; and (3) failing to “properly
implement and administer the allocation period even if JELD-WEN had
been authorized to initiate the allocation period.” (id. WI 100.)
Count Four seeks a declaratory judgment regarding the propriety of
JELD-WEN’s notice of allocation and the method of allocation, the
so-called “mix methodology.” (Id. @7 107.)

Steves filed simultaneously with the Complaint a MOTION FOR A
TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION (ECF No. 2)
(the “Preliminary Injunction Motion”). The Preliminary Injunction
Motion was the subject of the MEMORANDUM OPINION (ECF No. 121; ECF
No. 122) (the “Preliminary Injunction Memorandum Opinion”) issued
April 10, 2020. The Preliminary Injunction Memorandum Opinion and
the ORDER OF PRELIMINARY INJUNCTION (ECF No. 123) (the “Preliminary
Injunction Order”) are incorporated by reference. In the
Preliminary Injunction Order, the Court found that Steves had clearly
and convincingly established that:

(1) There is a substantial likelihood,
amounting to a near certainty, that

Steves will succeed on the merits of

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COUNT THREE of the [Complaint], the
breach of contract claim against JELD-
WEN on the grounds that:

(a) JELD-WEN breached the Doorskin
Product Agreement (the “Supply
Agreement”) by refusing to deliver
fully the doorskins Steves ordered
during the fourth quarter of 2019;
and

(b) JELD-WEN breached the Supply
Agreement by giving notice of
allocation in violation of Section
20 of the Supply Agreement; and

(c) Even if allocation had been in
conformance with Section 20 of the
Supply Agreement (which it was not),
by adopting an allocation method
that is neither fair nor reasonable,
JELD-WEN breached the Supply
Agreement; and

(2) Absent a temporary injunction, Steves
will suffer irreparable injury as a
result of the breaches described in
paragraphs 1(a)-(c); and

(3) As a result of a temporary injunction,
JELD-WEN will suffer some, but not
adequately-proven, economic hardship,
which is, however, significantly of its
own creation and which is a consequence
of the terms to which it bound itself in
the Supply Agreement; and

(4) The balance of hardships tips decidedly
in favor of Steves; and

(5) The public interest will be served by a
preliminary injunction.

(ECF No. 123 at 1-3.) Thereupon, the Court ordered that JELD-WEN
shall:

(A) Terminate allocation, as to Steves,
effective retroactively to January 1,
2020;
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(B) Terminate, as to Steves, the ordering,
confirmation, and delivery process (the
so-called mix methodology) unilaterally
instituted as part of allocation;

(C) Revert to the parties’ previous ordering,
confirmation, and delivery process
pending the results of trial on the
merits and any order that is entered
thereafter; and

(D) Deliver to Steves all doorskins Steves
ordered from November 25, 2019 until the
date of this Order of Preliminary
Injunction (“Undelivered Prior-Placed
Orders”), in accord with the requirements
of the Supply Agreement, provided,
however, that Steves’ estimates and
orders shall satisfy 6 Del. C. § 2-306,
and in the following manner:

(i) Beginning the first week after the
Preliminary Injunction takes
effect, in addition to Steves’
regularly-placed weekly orders,
deliver to Steves 262,400 doorskins
per week from the Undelivered Prior-
Placed Orders in the order in which
Steves placed them, until all
Undelivered Prior-Placed Orders
have been filled.

(Id. at 3-4.) In the Preliminary Injunction Order, the Court also
ordered the parties to submit briefing addressed to the security
requirements of Fed. R. Civ. P. 65(c), which is the subject of this
MEMORANDUM OPINION.
JELD-WEN’ S BOND MOTION
On April 13, 2020, three days after the Court issued the
preliminary injunction, JELD-WEN filed its Bond Motion. (ECF No.

132.) Therein, JELD-WEN requested that the Court order Steves to

post a bond of QJ as security for the preliminary
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injunction. (ECF No. 133 at 1.) JELD-WEN contends that there is a
“real risk” that the preliminary injunction was issued improperly
“given that a preliminary injunction is granted on an incomplete and
quickly compiled record.”2 (Id.) JELD-WEN argues that the amount
of the bond depends on the potential harm to the enjoined party and
that “district courts should err on the high side” when setting the

amount of the bond. (Id. at 2 (quoting Mead Johnson & Co. v. Abbott

 

Labs., 201 F.3d 883, 888 (7th Cir. 2000)) (internal quotation marks
omitted) .)

The trial of this case is currently set for June 1, 2020.
However, the trial likely will be deferred until the middle or the
end of June 2020.3 The Bond Motion assumes that the preliminary
injunction will be in effect for sixteen weeks.

JELD-WEN contends that “demand from trade customers (including
Steves’ orders and backorders) will consume all of current inventory
and a substantial portion of JELD-WEN’s production capacity, such
that JELD-WEN will be unable to meet all of its needs for

doorskins for its own business.” (Id. at 5 (emphasis added).)

 

 

 

2 Although the proceedings on the preliminary injunction were
expedited, the issues focused on the breach of contract claim, which
was precipitated by recent events. The parties had discovery, and
there was a two-day hearing. Consequently, the record actually is
relatively extensive compared to the records of most preliminary
injunction proceedings.

3 Recently, JELD-WEN has suggested that it will seek to move the
trial date until the end of July 2020. (See, e.g., ECF No. 157 at
5, 5 n.3; ECF No. 195 at 10-11.)
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Because of this shortage of doorskins, JELD-WEN argues that, “during

the 16-week injunction period, JELD-WEN will be unable to meet its

 

own forecasted door needs for doors requiring those doorskins” and

 

“will be unable to supply itself with approximately [RR

doorskins that are needed for door production and sales, which would
result in lost sales of approximately QM doors.” (Id. at 5-6

(emphasis added).) JELD-WEN also asserts that it will “lose Jy

nee.” such as
Den. (Id. at 6.) JELD-WEN estimates that
“complying with the injunction the Court has ordered will cause JELD-
WEN to lose nearly...
nn.” (id)

As the support for its request for a MM bond, JELD-

WEN submitted the declaration of Daniel Castillo (“Castillo”), the
President for North America Doors at JELD-WEN. (ECF No. 134 @ 2.)
The purpose of the Castillo Declaration is to set out JELD-WEN’s
anticipated monetary harm from the Preliminary Injunction Order.’
(Id. 491 3, 5, 21-27). Castillo’s declaration is the sole basis for
JELD-WEN’s request that Steves be required to post a [Ry
bond pending appeal.

The record shows that JELD-WEN can operate its doorskin facility

in a regular or “standard” mode and a “stretch” mode. The estimated

 

4 Castillo’s estimated losses do not include loss of future

business, but he estimates that loss to be “SR.”  (&cr

No. 134 7 28).
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loss of [RMI is based on Castillo’s assertion that JELD-
WEN is currently “running at maximum capacity for its production of
doorskins” and that “JELD-WEN cannot produce any more doorskins than
it is currently producing.” (Id. @ 6.) In other words, according
to Castillo, although “JELD-WEN’s fiber plants are operating in
‘standard’ mode,” transitioning to “stretch” mode would not increase
JELD-WEN’s production capacity because “JELD-WEN does not have any
scheduled downtime in the second quarter, so it is unable to defer
any such downtime” as it would do in stretch mode. (Id. @ 7.)

Castillo thus estimated that JELD-WEN could produce
approximately [MJ doorskins during the next sixteen weeks.
(Id. @ 8.) This estimate included the use of new Rockport (a style
of doorskin) dies JELD-WEN implemented in its Dodson plant. (Id. )
According to Castillo, “even when adding in current inventory to
JELD-WEN’s production capacity, JELD-WEN still does not have the
capacity to meet total demand from Steves, JELD-WEN’s other trade
customers, and JELD-WEN’s own internal doorskin needs to support its
door business.” (Id. 7 10.)

Now, Castillo states that, over the entire sixteen-week
injunction period, “Steves’ demand over this period will entirely
consume (in fact, exceed) JELD-WEN’s production capacity for
WMN,s« (a style)] doorskins for this period.” (Id. 719.) At
the preliminary injunction hearing, it was established that the
production shortage involved two styles of doorskins: Rockport and
Carrara doorskins. (ECF No. 60 at 9-10 (Castillo testimony).) And,

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now, in addition to the alleged PF shortage, Castillo predicts

that there will be shortages in other design families, including

A, sGoorskins.5 (ECF No. 134 @ 20.)

Steves argues that, in setting the amount of the bond, the Court
should not, under the unique facts of this case, consider evidence
outside of the evidence presented at the preliminary injunction
hearing. (ECF No. 156 at 4-5.) Thus, Steves argues that the
Castillo Declaration cannot be considered in assessing the
appropriate bond. Alternatively, Steves argues that the Castillo
Declaration, even if considered, “offers a wide variety of
unsupported assumptions” and that it is unreliable. (Id. at 6.)

According to Steves, the Court should impose only a nominal
bond because: (1) “when a plaintiff is plainly going to prevail on
the merits, the risk of harm is remote and there is no need for a
substantial bond,” (ECF No. 130 at 3); (2) “JELD-WEN adduced no
credible evidence supporting the harm it claims it will suffer as a
result of the injunction,” (id. at 4); and (3) “JELD-WEN stands to

suffer little damage from the preliminary injunction because its

 

5 According to Castillo, JELD-WEN will not be able to “make up
the shortfalls” in doorskins by using doorskins from its Latvian
facility because: (1) JELD-WEN only imports [x ang
Ms oorrskins from Latvia; (2) JELD-WEN does not anticipate a
shortage of [MM coorskins; and (3) Latvia's fiber
presses will shut down for three weeks in late April because of the
Covid-19 pandemic. (ECF No. 134 I 24.)
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liability will be determined [at trial] in a couple months,” (id. at
5).
LEGAL STANDARD

A. Federal Rule of Civil Procedure 65(c)

Rule 65(c) provides that “(t]he court may issue a preliminary
injunction or a temporary restraining order only if the movant gives
security in an amount that the court considers proper to pay the
costs and damages sustained by any party found to have been
wrongfully enjoined or restrained.” A “party seeking a preliminary
injunction prior to the final adjudication of liability must post a
bond in order to ensure a source of recovery in the event that the

injunction is erroneous.” S$ & D Land Clearing v. D’Elegance Mgmt.

 

Ltd., 34 Fed. App’x 885, 895 (4th Cir. 2002). The “district court
retains the discretion to set the bond amount as it sees fit or waive
the security requirement. However, the district court must
expressly address the issue of security before allowing any waiver
and cannot disregard the bond requirement altogether.”  Pashby v.
Delia, 709 F.3d 307, 332 (4th Cir. 2013) (quoting Hoechst Diafoil

Co. v. Nan Ya Plastics Corp., 174 F.3d 411, 421 (4th Cir. 1999))

 

(internal citation and quotation marks omitted). “The burden of
establishing the bond amount rests with the party to be restrained,
who is in the best position to determine the harm and will suffer
from a wrongful restraint.” Fleet Feet, Inc. v. Nike Inc., 419 F.

Supp. 3d 919, 949 (M.D.N.C. 2019) (quoting Lab. Corp. of Am. Holdings

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v. Kearns, 84 F. Supp. 3d 447, 465 (M.D.N.C. 2015)) (internal
quotation marks omitted).

When determining the appropriate bond amount, the Court may
consider additional evidence. See, e.g., id. at 949 (“Should Nike
wish to seek a higher amount [for bond], it may file a motion to
increase the security, accompanied by additional evidentiary

support.”); Jenkinson v. Highmark W. Va., Inc., No. 3:19-cv-83, 2019

 

WL 2341668, at *8 (N.D. W. Va. June 3, 2019) (“Due to lack of
argument, the parties are GRANTED leave to file additional evidence
with the Court regarding the proper bond amount.”).

B. Whether Castillo’s Declaration Can Be Considered

This argument is two-fold: (1) the declaration is an
impermissible motion for reconsideration of an already decided
issue: the balance of the hardships; and (2) the declaration is
unreliable on the facts of this case.

1. The Motion for Reconsideration Contentions

Steves argues that, because Castillo’s declaration is the only
evidentiary support for the requested bond amount, the Bond Motion
is a thinly-veiled motion for reconsideration that does not meet the
requirements for such motions. (ECF No. 187 at 6-8.) It is, of
course, true that “[d]Jistrict courts retain the power to revise,
reconsider, and modify their interlocutory judgments at any time
prior to final judgment when such is warranted.” JTH Tax, Inc. v.
AIME, No. 2:16-cv-279, 2016 WL 9185404, at *2 (E.D. Va. Sept. 26,
2016) (quoting Am. Canoe Ass’n v. Murphy Farms, Inc., 326 F.3d 505,

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515 (4th Cir. 2003)) (internal quotation marks omitted). “The
district court’s reconsideration of an interlocutory order is not
subject to the heightened standards that apply to reconsideration of
declaratory judgments. Instead, the Court may exercise its
discretion to afford relief from his interlocutory orders as justice

requires.” Touchcom, Inc. v. Bereskin & Parr, 790 F. Supp. 2d 435,

 

463 (E.D. Va. 2011) (quoting Fayetteville Inv’rs_v. Commercial

 

Builders, Inc., 936 F.2d 1462, 1473 (4th Cir. 1991)) (internal
quotation marks and citation omitted). “The discovery of
substantially different evidence, a subsequent change in the
controlling applicable law, or the clearly erroneous nature of an
earlier ruling would all justify reconsideration.” Id. (citing Am.
Canoe Ass'n, 326 F.3d at 515).

The Castillo Declaration is not “substantially different” and
is indeed remarkably similar to the Impact Statement the Court
considered and found to be unreliable in the Preliminary Injunction
Opinion. (ECF No. 121 at 71-73.) Neither party has contended that
controlling applicable law has changed in the two weeks since the
Court issued the injunction or that the injunction was clearly
erroneous. Moreover, JELD-WEN itself stated that “JELD-WEN is not
aware of any reason why considering the . . . Castillo
Declaration . . . would require this Court to reopen the preliminary
injunction record and reconsider whether the injunction is
appropriate in the first place in light of that additional evidence.”
(ECF No. 171 at 3-4.) Consequently, the Bond Motion is not a motion

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for reconsideration but, even if the Court were to consider the
arguments as a request that the Court reconsider the injunction, the
requirements for a motion to reconsider are not met.

2. Unreliability

Steves does not challenge the general principle that, in
determining the amount of security to be posted, the Court may take
evidence in addition to that which is in the record of the
preliminary injunction hearing. However, Steves contends that the
Castillo Declaration cannot be considered in setting the bond because
Castillo provided the only evidence of JELD-WEN’s injury (the Impact
Statement) in the preliminary injunction hearing and the Court has
rejected that evidence as insufficient and unreliable. And,
according to Steves, Castillo’s declaration is merely a more detailed
presentation of what is in the Impact Statement that the Court
already has rejected. A comparison of the Castillo Declaration and
the Impact Statement proves that to be generally accurate.

The next impediment to consideration of the Castillo
Declaration, says Steves, is that the information in it has not been
tested in discovery or by cross-examination. Of course, Steves is
correct. And, says Steves, because the Court has found the Impact

Statement to be unreliable and insufficient to establish harm to

 

6 According to JELD-WEN’s counsel, Castillo’s declaration
presents the same information as in the Impact Statement except that:
(1) the declaration is in a different form; and (2) the declaration
excludes loss attributable to market capitalization decline that
would occur following an injunction of the kind sought by Steves.
(ECF No. 187 at 28-29.)

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JELD-WEN and because the Castillo Declaration is a recasting of what
is in the Impact Statement, the absence of discovery and cross-
examination adds to the unreliability of the more detailed
information in the Castillo Declaration.

There is considerable force to Steves’ position that the
declaration likely is unreliable. But that is a matter of the weight
to be given the information rather than a ground for excluding it
entirely.

In response to Steves’ position that the Court should not
consider the Castillo Declaration, JELD-WEN argues that it “could
not have presented that evidence [the detailed statements in the
Castillo Declaration] at the time of the injunction hearing [because]
it did not know what order the Court would enter, the status of its
customers’ orders at the time of the injunction, or how the Court’s
order would impact JELD-WEN’s ability to fill doorskin orders and
impact its own door business.” (ECF No. 171 at 4.) This argument
is unconvincing because the injunction that the Court issued was
substantively identical to the injunction that Steves proposed on
March 3, 2020 (before the March 5-6 hearing). (See ECF No. 47.)
And that was the form of injunction to which the Impact Statement
(offered by Castillo) was addressed. Hence, it is not correct to
say that the injunction the Court issued could not have been expected
at the time of the preliminary injunction hearing.

In sum, Steves make a persuasive argument that the Castillo
Declaration should not be considered in assessing the Bond Motion.

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However, at Steves’ urging, the Court has used its equitable power
to issue a preliminary injunction and Rule 65{c) requires that the
exercise of that power be accompanied by an assessment of the
appropriate security. It thus is appropriate to consider the
Castillo Declaration in making the assessment of the amount of the
security, notwithstanding that the Castillo Declaration played no
role in the balance of hardships previously assessed in deciding to
exercise the equitable power of injunction. In so doing, the Court
may consider that Castillo’s related Impact Statement was found to
be unreliable and that Steves has not been afforded the opportunity
to test the Castillo Declaration in discovery or on _ cross-
examination.

Cc. The Assessment of JELD-WEN’s Evidence on Security

We turn now to assessing the evidence JELD-WEN offered—-i.e.,
the Castillo Declaration—-in support of its assertion that the
security ought to be a QM bond. That assessment is to
be made in accord with several basic principles.

1. The Basic Principles

“In fixing the amount of an injunction bond, the district court
should be guided by the purpose underlying Rule 65(c), which is to
provide a mechanism for reimbursing an enjoined party for harm it
suffers as a result of an improvidently issued injunction or
restraining order. The amount of the bond, then, ordinarily depends
on the gravity of the potential harm to the enjoined party.” Hoechst
Diafoil Co. v. Nan Ya Plastics Corp., 174 F.3d 411, 421 n.3 (4th

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Cir. 1999). The Fourth Circuit in Hoechst Diafoil Co. v. Nan Ya
Plastics Corp., 174 F.3d 411 (4th Cir. 1999), explained that:
The judge usually will fix security in an
amount that covers the potential incidental
and consequential costs as well as either the
losses the unjustly enjoined or restrained
party will suffer during the period he is
prohibited from engaging in certain activities
or the complainant’s unjust enrichment caused
by his adversary being improperly enjoined or
restrained.

Id. at 421 n.3 (quoting 11A Charles Alan Wright et al., Fed. Prac.
& Proc. § 2954 at 292 (2d ed. 1995)) (internal alteration omitted).
However, in the same case, the Fourth Circuit also has explained
that “[w]here the district court determines that the risk of harm is
remote, or that the circumstances otherwise warrant it, the court
may fix the amount of the bond accordingly. In some circumstances,
a nominal bond may suffice.” Id. (emphasis added). That teaches
rather clearly that the Court is to consider the likelihood that the
injunction was improperly issued-i.e., the likelihood of success.
Indeed, the Fourth Circuit itself and courts within the Fourth
Circuit have taken that approach. See, e.g., Candle Factory, Inc.
v. Trade Assocs. Grp., 23 Fed. App’x 134, 139 (4th Cir. 2001)
(concluding that nominal bond was appropriate because record “amply
supports the court’s finding” and that court’s “finding that [party]
would suffer little harm if enjoined. ..£$is not clearly
erroneous”); George Sink PA Injury Lawyers v. George Sink II Law
Firm LLC, No. 2:19-cv-1206, 2019 WL 6318778, at *6 (D.S.C. Nov. 26,

2019) (“The court finds that a nominal bond is appropriate here for

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two reasons. First, plaintiff has shown strong likelihood of
success on the merits. Second, defendants are not at risk of
suffering severe harm from the mandates of the injunction.” (internal

citations omitted)); Sanderson Farms, Inc. v. Tyson Foods, Inc., No.

 

08-210, 2008 WL 11363726, at *1 (D.Md. Apr. 25, 2008) (“There is
ample authority supporting the issuance of a nominal bond where the
district court determines that a plaintiff is highly likely to

succeed on the merits at trial.”); Ark. Best Corp. v. Carolina

 

Freight  Corp., 60 F, Supp. 2a 517, 521 (W.D.N.C. 1999)
(“Circumstances in the instant case warrant the posting of only a
nominal bond in that Plaintiffs have shown a strong likelihood of
success on the merits. Further, given that prima facie proof of
trademark infringement raises a presumption of injury and harm, the
Court’s issuance of the injunction is likely to be upheld.”).
2. The Effect of the Bond Amount

JELD-WEN argues that the Court should set the bond on the high
side because the bond amount caps JELD-WEN’s recovery if the
preliminary injunction is vacated.’ A number of courts have made

statements to that effect. See, e.g., Nat’l Collegiate Athletic

 

Assoc. v. Governor of New Jersey, 939 F.3d 597, 606-08 (3d Cir.

 

2019); Nokia Corp. v. InterDigital, Inc., 645 F.3d 553, 557-59 (2d

 

Cir. 2011); Glob. Naps, Inc. v. Verizon New England, Inc., 489 F.3d

13, 23 (lst Cir. 2007); Continuum Co. v. Incepts, Inc., 873 F.2d

 

 

7 (ECF No. 171 at 2-3 (citing Mead Johnson & Co. v. Abbott Labs.,
201 F.3d 883, 888 (7th Cir. 2000).)

 

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801, 803 (5th Cir. 1989). Several of these cases seem to rely ona
statement the Supreme Court of the United States made in a footnote

in W.R. Grace & Co. v. Local Union 759, 461 U.S. 757 (1983), which

 

stated that a “party injured by the issuance of an injunction later
determined to be erroneous has no action for damages in the absence
of a bond.” Id. at 770 n.14. The statement in W.R. Grace & Co. was

based on a decision in Russell v. Farley, 105 U.S. 433, 437-442

 

(1882), which was grounded, not in Rule 65, but in the common law.
And W.R. Grace & Co. did not address Rule 65. Wright & Miller says
otherwise, specifically that the “surety’s liability for damages
cannot exceed the amount stated in the bonding agreement” but that
the “parties who posted the bond are not so protected and they may
be liable for damages or costs beyond the limits the court required

in the surety agreement.” 11A Wright & Miller, Fed. Prac. & Proc.

 

Civ. § 2973 (3d ed.) (Apr. 2020 update); see also Don Post Studios,

 

Inc. v. Cinema Secrets, Inc., 148 F. Supp. 2d 572, 575 (E.D. Pa.

 

2001) (noting exceptions to cap rule, including where party seeking
injunctive relief acted in bad faith, and citing cases).

The Court notes that, in the Fourth Circuit, whether an enjoined
party may recover more than the bond amount if the party was

improperly enjoined is unclear. See Int’l Bhd. of Teamsters v.

 

Airgas, Inc., 885 F.3d 230, 237 (4th Cir. 2018) (concluding that
party was not entitled to damages but citing as comparison First-

Citizens Bank & Tr. Co. v. Camp, 432 F.2d 481, 485 (4th Cir. 1970),

 

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which stated that party could recover damages only within limits of
bond amount).

More to the point, Rule 65 does not tell the Court to examine
whether the bond is a cap on the enjoined party’s ability to recover
if the preliminary injunction is improvidently granted. Instead,
Rule 65 instructs that the bond must be set as supported by the
evidence of potential harm and how remote that putative harm is.

On the record made in this case, the risk of harm to JELD-WEN
is remote. As the Court found in the Preliminary Injunction Order,
Steves has clearly and convincingly established that “{t]here is a
substantial likelihood, amounting to a near certainty, that Steves
will succeed on the merits of COUNT THREE... .” (ECF No. 123 at
1.) Although it is possible that the Court’s injunction will be
vacated, it is unlikely given the strength of Steves’ showing on all
four preliminary injunction requirements—(1) that Steves is likely
to succeed on the merits, (2) that Steves would suffer irreparable
harm absent an injunction, (3) that the balance of hardships weighs
in Steves’ favor, and (4) that an injunction is in the public
interest. (Id. at 1-3; see generally ECF No. 121.)

The Court previously concluded that the Impact Statement JELD-
WEN offered as evidence during the March 5-6, 2020 hearing was
unreliable because it contained conclusory statements and made
“patently untrue or unsupported assumptions.” (ECF No. 121 at 72.)
For the same reasons, the Court cannot now rely on that evidence in
assessing the amount of the security. Thus, consideration only of

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the preliminary injunction record would necessitate a finding that
JELD-WEN has not met its burden to prove that a bond of [yy
is called for. That leaves JELD-WEN’s position on the amount of the
bond dependent upon the weight accorded the Castillo Declaration.
3. The Castillo Declaration
To begin, the Castillo Declaration, like the Impact Statement,
relies on unsupported assumptions and conclusory statements. The

Castillo Declaration is based on two exhibits: Exhibit A, which

consists of [eee 260
Exhibit B, which explains the [—i
| 2S (ECF No. 134-1 (“Ex. AY”); ECF No. 134-2 (“Ex.

B”).) As explained below, the evidence presented in the Castillo
Declaration, Exhibit A, and Exhibit B is not reliable.®
a. Exhibit A and the Castillo Declaration

The fundamental assumption on which the Castillo Declaration
stands is that JELD-WEN’s annual production capacity is P
doorskins (QM). That can be seen by examining Exhibit A to
the Castillo Declaration.

The third chart (the “Sixteen-Week Chart”) of Exhibit A examines
fiber (doorskin) demand from April 2020 to July 2020 for specific
designs. (Ex. A at 3.) It lists, inter alia, JELD-WEN’s sixteen-

week capacity; doorskin inventory at JELD-WEN’s fiber plants as of

 

8 These documents attempt to augment the Impact Statement, which
the Court previously found deficient and unreliable in the
Preliminary Injunction Opinion, by using the same deficient and
unreliable conclusions and assumptions.

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April 10, 2020; Steves’ April 2020 through July 2020 demand,
including the Undelivered Prior-Placed Orders; JELD-WEN’s remaining
capacity after accounting for Steves’ demand; JELD-WEN’s remaining
capacity after accounting for demand from all customers, including
JW Door; and the anticipated shortages and surpluses by doorskin
style. (Id.) All of the metrics included in this chart are also
broken down by doorskin style. {(Id.) The Sixteen-Week Chart then
lists JELD-WEN’s total sixteen-week production capacity as
GAS ocorskins. Projecting that figure to fifty-two weeks
shows that the chart assumes JELD-WEN’s annual production capacity
is approximately [RRM doorskins. ° That fundamental
assumption is wrong based on the record made in the preliminary
injunction hearing.

As explained in the Preliminary Injunction Opinion, the Court,
relying on JELD-WEN’s documents, concluded that “Steves clearly has
shown a substantial likelihood of success in proving that JELD-WEN’s
annual production capacity is J) doorskins at a minimum and
Po doorskins if operating in stretch mode.” (ECF No. 121
at 39.)

At trial, the decision whether production capacity is [I

will be made by the jury. However, for the purposes of assessing

 

9 The annual capacity can be calculated from this chart by
dividing the sixteen-week capacity by sixteen to arrive at a weekly
capacity of [MM doorskins. Multiplying this figure by
fifty-two shows an annual production capacity of [XR
doorskins.

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the Bond Motion, the Court concludes that Castillo’s assumption of
a BRM annual production capacity is so at odds with JELD-
WEN’s business documents?!® and the testimony of JELD-WEN’s witness,
Stephen Fancher, that the assumption lacks merit. And, because that
assumption is the linchpin on which Castillo’s J damage
figure is based, the figure is without foundation.

Another critical component of the ) figure is
Castillo’s assertion that, “JELD-WEN is running at maximum capacity
for its production of doorskins,” that JELD-WEN’s doorskin plants
are operating 24/7 and using all of JELD-WEN’s doorskin dies, and
that JELD-WEN consequently “cannot produce any more doorskins than
it is currently producing.” (ECF No. 134 9 6.) According to Bruce
Fedio (JELD-WEN’s Vice President of Fiber Operations in North
America), that mode of operation is called “stretch mode.” (See ECF
No. 59 at 177-78, 185-86 (Fedio testimony).) Castillo asserts that
“[ijt is not possible for JELD-WEN to enter ‘stretch’ mode during
the next sixteen weeks because JELD-WEN does not have any scheduled
downtime in the second quarter, so it is unable to defer any such
downtime.” (ECF No. 134 F 7.) When deposed, Castillo eschewed
knowledge of “stretch mode,” and JELD-WEN has generally relied on

Fedio to provide information on that topic. (ECF No. 156-1 at 48:10-

14 (Castillo Dep.) (|i

 

10 The documents (ECF No. 46-16; ECF No. 46-17) were used by JELD-
WEN to make important business decisions, including whether to give
notice of the allocation at issue here.

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Dn); sce also ECF No. 59 at 177-187 (Fedio

testimony) .)

However, Fedio’s testimony at the March 5-6, 2020 hearing made
clear that JELD-WEN is not operating in stretch mode. (ECF No. 59
at 178 (Fedio testimony) (“Q. Have you done that, gone into stretch
mode? A. Not with Jeld-Wen, no.”).) If JELD-WEN were actually
operating in stretch mode, as the Castillo Declaration contends, !!
its production capacity should be approximately J doorskins
per year, which is Pe than the

capacity upon which Castillo relies to come to the [I

harm figure, the predicate for the amount of the requested bond.
(ECF No. 121 at 40; see also Ex. A at 3.) Indeed, even if JELD-WEN
were not operating in stretch mode, its production capacity would
still be [Xin than sthe capacity
contained in the Sixteen-Week Chart. (ECF No. 121 at 40; see also
Ex. A at 3.)

Castillo’s inaccurate portrayal of the production capacity in
turn makes unreliable both (1) the Sixteen-Week Chart’s projections
of surpluses and shortages and (2) the end product of Castillo’s

analysis (the MM). Because the Castillo Declaration does

 

il Castillo’s statements that a “‘stretch’ mode is only
possible ... if there is a scheduled downtime that can be
postponed” and that “JELD-WEN does not have any scheduled downtime
in the second quarter” suggest that JELD-WEN is currently operating
in stretch mode. (ECF No. 134 ¥ 7.)

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not sufficiently support its production capacity claims and because
the production capacity is the foundation of Exhibit A’s
calculations, the Court rejects as unreliable the portions of Exhibit
A and the Castillo Declaration that discuss the production
capacity. }

Castillo’s analysis is also unreliable because it only accounts
for JELD-WEN’s doorskin inventory at its fiber plants, not at its
door plants. (See Ex. A at 3.) The chart lists the “Current Fiber
Inventory as of 4/10/2020” as P| doorskins.!3 (Id.) However,
evidence that Steves attached to its RESPONSE TO JELD-WEN’S MOTION
FOR BOND UNDER FEDERAL RULE OF CIVIL PROCEDURE 65(C) (ECF No. 156)
shows that JELD-WEN has over [I coorskins in
inventory at its door plants. (ECF No. 156-2 at 2.) JELD-WEN’ s
counsel represented at the April 20, 2020 telephonic hearing that
the doorskins in the door plants’ inventory were “already committed
to be made and delivered” by JW Door and thus could not be used to
supply Steves or other doorskin customers. (ECF No. 187 at 30-31.)
That is at odds with the proof that Steves has offered. And, in any

event, the Court cannot rely on assertions of counsel as a substitute

 

12 The foregoing analysis applies equally to the second chart in
Exhibit A, which examines fiber demand from the week of April 13,
2020 to the week of May 11, 2020. (Ex. A at 2.) This chart listed

the five-week production capacity as doorskins. The
weekly production capacity is consequently doorskins and
the yearly production capacity approximately doorskins.
13 The same inventory figure is used in the second chart of Exhibit
A, which is similarly unreliable for the same reason. (See Ex. A
at 2.)

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for evidence. Even if the representation of counsel could be
considered, it is still inaccurate to calculate shortages and
surpluses without accounting for all doorskins in inventory,
including doorskins that JELD-WEN intends JW Door to use. This
omission consequently renders the Sixteen-Week Chart and the
portions of the Castillo Declaration that concern inventory further
unreliable because the record shows that the number of doorskins is
at least [si n2an the amount on which the
chart is based.
b. Exhibit B and the Castillo Declaration

As with Exhibit A, the Court finds Exhibit B unreliable because,

like the Impact Statement that Castillo presented at the March 5-6,

2020 hearing, Exhibit B relies on unsupported assumptions. For

instance, Exhibit B [ee
Den (Ex. Boat 2.) Exhibit B does not explain why

that assumption is made. That is a critical omission because the
purported loss of that revenue (MMM) in sixteen weeks is

more than the purported 10s: ISI

Nor does the text of the Castillo Declaration support that

information. Instead, the Castillo Declaration merely states in a

conclusory manner that [jl

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Rn )=63h ECF No. 134 9 26.) Because neither

Exhibit B nor the Castillo Declaration provide evidence to support

their contention that Iii

the Court cannot rely on Exhibit B and the Castillo Declaration’s

claim that [ee

(See Ex. B at 2; ECF No. 134 7 27.) And, a failing of that magnitude
calls into question, as well, the reliability of the entire analysis.

Additionally, Exhibit B assumes that:

Hl

(Ex. B at 2.) There is no explanation in either Exhibit B or the

Castillo Declaration as to what [iy
MMMM entail, only that o [ee

The Court cannot credit evidence that relies on unsupported and
unexplained assumptions. Consequently, for the foregoing reasons,

the Court rejects as unreliable Exhibit B and the portions of the

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Castillo Declaration that discuss the financial impact of the
injunction on JELD-WEN.
CONCLUSION

In sum, the record shows that Steves has a strong likelihood of
success. Of course, the jury will decide at trial what the
production capacity is and thus whether allocation was properly
noticed under the Supply Agreement. However, it is difficult to
accept that a jury would ignore the JELD-WEN documents that were
used in making important business decisions, including the decision
to notice allocation.

However, if that issue is resolved in JELD-WEN’s favor, the
jury then will decide at trial whether the mix methodology is fair
and reasonable. Here too, JELD-WEN’s business documents prove that
JELD-WEN actually considered, but rejected, a method of allocation
that was fair and reasonable to all concerned. Instead, the record
shows that JELD-WEN opted for the mix methodology because it enabled
JELD-WEN to meet its own needs. It is difficult to believe that a
jury would ignore that evidence.

At trial, the jury will decide whether, under Section 20 of the
Supply Agreement, JELD-WEN’s own needs can be factored into an
allocation as to Steves. The jury is not likely to ignore the
testimony and provisions from other contracts that support Steves’
position on that point.

But, in assessing the likelihood of success that an injunction
has been improvidently issued and whether the harm to JELD-WEN is

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remote, the Court is obligated to conclude that, on this record,
Steves will prevail.

Also, the evidence offered by JELD-WEN (the Castillo
Declaration) to support the need for a JM bond has been
rejected. Thus, JELD-WEN has not carried its burden on that score.

The end result is that JELD-WEN has not carried its burden to
demonstrate that the amount of security that it seeks is necessary
or appropriate under Rule 65(c). Considering that failure of proof
and the high likelihood of success on the merits on COUNT THREE, the
risk of harm to JELD-WEN must be considered remote. Thus, a nominal
bond would be appropriate. But, a bond of $1 million was required.

For the foregoing reasons, the Court required Steves to post
bond of $1 million (USD) and, except to that extent, the Bond Motion
(ECF No. 132) was denied.

It is so ORDERED. ‘°

/sf/ REL

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: May 8 , 2020

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